Case 3:08-cr-00023   Document 445   Filed 11/08/13   Page 1 of 9 PageID #: 3368
Case 3:08-cr-00023   Document 445   Filed 11/08/13   Page 2 of 9 PageID #: 3369
Case 3:08-cr-00023   Document 445   Filed 11/08/13   Page 3 of 9 PageID #: 3370
Case 3:08-cr-00023   Document 445   Filed 11/08/13   Page 4 of 9 PageID #: 3371
Case 3:08-cr-00023   Document 445   Filed 11/08/13   Page 5 of 9 PageID #: 3372
Case 3:08-cr-00023   Document 445   Filed 11/08/13   Page 6 of 9 PageID #: 3373
Case 3:08-cr-00023   Document 445   Filed 11/08/13   Page 7 of 9 PageID #: 3374
Case 3:08-cr-00023   Document 445   Filed 11/08/13   Page 8 of 9 PageID #: 3375
Case 3:08-cr-00023   Document 445   Filed 11/08/13   Page 9 of 9 PageID #: 3376
